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UNITED STATES OF AMERICA

Petitioner,
VS. No. 04-1210-T/An

RONALD K. TAYLOR,

Respondent.

ORDER ADJUDICATING PLAINTIFF RONALD K. TAYLOR IN CONTEMPT

The Court finding: (l) that Respondent, Ronald.K. Taylor,
having received.a true and correct copy of this Court's Order, dated
September‘ 2, 2004, Which. enforced. an Internal Revenue Service
summons, and required that Ronald K. Taylor appear before IRS Agent
Thomas Wyant, or other authorized officer of the Internal Revenue
Service, at the time and place to be designated.by IRS Agent, Thomas
Wyant, then and there be sworn, to give testimony and produce for
examination and copying each and every book and record demanded by
the summons; and (2) that Ronald K. Taylor was duly served With a
copy of the February 20, 2005, Order to Show'Cause Why he should_not
be held in contempt and incarcerated; along with the United States’

motion and declaration.

Thls document entered on the docket sheet ln compliance
with Ru!e 58 and.'or_79 (a) FF\CP on

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ORDERED, ADJUDGED AND DECREED that Respondent, ROnald K.
Taylor, is in wilful contempt of this Court's Order for failure to
obey the February lO, 2005, Order requiring him to comply with the
Internal Revenue Service summons, and it is further

ORDERED, ADJUDGED AND DECREED that Ronald K. Taylor be
incarcerated. and. held in jail until he demonstrates full and
complete compliance with the Internal Revenue Service summons.
However, because of the condition of his wife, Mrs. Bernice Taylor,
Mr. Taylor is given thirty~days (August 22, 2005) to report. If
within that thirty-day period, the Court receives a nmtion of
either party indicating that Mr. Taylor has fully complied, the

Court will reconsider the terms of the jail sentence.

%AM

MS D. TODD

IT lS SO ORDERED.

UNITED STATES DISTRICT JUDGE

DATE= Q>’ M 9{/‘”5,

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 1:04-CV-Ol210 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

 

Richard L. Finney

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Charles M. Flesch

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Dashiell C. Shapiro

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Honorable J ames Todd
US DISTRICT COURT

